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  IT IS ORDERED as set forth below:



   Date: July 13, 2023
                                                           _________________________________

                                                                     Jeffery W. Cavender
                                                                U.S. Bankruptcy Court Judge

 ________________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                            :   CHAPTER 7
                                                  :
DORSEY LEON HAMMOND,                              :   CASE NO. 22-54243 - JWC
                                                  :
                DEBTOR.                           :

 CONSENT ORDER ON UNITED STATES TRUSTEE’S OBJECTION TO DEBTOR’S
    MOTION TO APPROVE POST-PETITION RETAINER AND MOTION TO
         DISQUALIFY ROUNTREE LEITMAN KLEIN & GEER, LLC

         This matter is before the Court on the United States Trustee’s Objection to Debtor’s Motion

to Approve Post-Petition Retainer and Motion to Disqualify Rountree, Leitman, Klein & Geer,

LLC (the “Objection”) (Doc. No. 91). Counsel for the United States Trustee and a representative

of Rountree, Leitman, Klein & Geer, LLC (“Rountree”) conferred and agreed to the entry of a

consent order resolving the Objection.

         In consideration of the agreement and the consent of the United States Trustee and

Rountree, it is hereby

         ORDERED the Order Granting Application to Employ and Retain Rountree, Leitman,

Klein & Geer, LLC (Doc. No. 35) is VACATED. It is further
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        ORDERED on or before July 31, 2023, Rountree shall turnover $19,198.24 to the chapter

7 trustee.1 It is further

        ORDERED the Clerk, U.S. Bankruptcy Court, shall serve a copy of this order upon Debtor,

Rountree, the chapter 7 trustee, and the United States Trustee.

                                          [END OF DOCUMENT]

 Consented to by:                                        Consented to by:

 MARY IDA TOWNSON                                        /s/ William A. Rountree
 UNITED STATES TRUSTEE                                   William A. Rountree (with express permission)
 REGION 21                                               Georgia Bar No. 616503
                                                         Rountree Leitman Klein & Geer, LLC
 By: /s/ Lindsay P. S. Kolba                             Century Plaza I, Suite 350
 Lindsay P. S. Kolba                                     2987 Clairmont Road
 Georgia Bar No. 541621                                  Atlanta, GA 30329
 United States Department of Justice                     (404) 584-1238
 Office of the United States Trustee                     wrountree@rlkglaw.com
 362 Richard B. Russell Building
 75 Ted Turner Drive, SW
 Atlanta, Georgia 30303
 (404) 331-4478
 lindsay.p.kolba@usdoj.gov

                                           DISTRIBUTION LIST

 Dorsey Leon Hammond                                       William A. Rountree
 2251 Verna Dr.                                            Rountree Leitman Klein & Geer, LLC
 Decatur, GA 30034-2635                                    Century Plaza I, Suite 350
                                                           2987 Clairmont Road
                                                           Atlanta, GA 30329

 S. Gregory Hays                                           Lindsay P. S. Kolba
 Hays Financial Consulting, LLC                            Office of the United States Trustee
 Suite 555,2964 Peachtree Road                             362 Richard B. Russell Building
 Atlanta, GA 30305                                         75 Ted Turner Drive, SW
                                                           Atlanta, Georgia 30303




        1
            This amount is the $21,218.12 in funds Rountree received on behalf of the Debtor less the $1,738.00
filing fee paid in this case and $281.88 in real estate closing expenses paid by Rountree.
